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Risk of pseudotumor cerebri added to labeling for
gonadotropin-releasing hormone agonists
July 1, 2022
from the Food and Drug Administration
Article type: FDA Update
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                   The Food and Drug Administration (FDA) has added a warning about the risk of
                   pseudotumor cerebri (idiopathic intracranial hypertension) to the labeling for gonadotropin-
                   releasing hormone (GnRH) agonists that are approved for the treatment of central
                   precocious puberty in pediatric patients. These products include Lupron Depot-Ped
                   (leuprolide acetate), Fensolvi (leuprolide acetate), Synarel (nafarelin), Supprelin LA
                   (histrelin) and Triptodur (triptorelin).

The new warning includes recommendations to monitor patients taking GnRH agonists for signs and
symptoms of pseudotumor cerebri, including headache, papilledema, blurred or loss of vision, diplopia, pain
behind the eye or pain with eye movement, tinnitus, dizziness and nausea.

The FDA assessed the potential risk of pseudotumor cerebri with use of GnRH agonists in pediatric patients
by reviewing post-marketing safety data submitted by the GnRH agonist manufacturers, searching the FDA
Adverse Event Reporting System and conducting a literature search.

Six cases were identified that supported a plausible association between GnRH agonist use and
pseudotumor cerebri. All six cases were reported in birth-assigned females ages 5 to 12 years. Five were
undergoing treatment for central precocious puberty and one for transgender care. The onset of
pseudotumor cerebri symptoms ranged from three to 240 days after GnRH agonist initiation.




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Symptoms included visual disturbances (n=5), headache or vomiting (n=5), papilledema (n=3), blood
pressure increase (n=1) and abducens neuropathy (n=1). Treatments included lumbar puncture (n=3),
acetazolamide therapy (n=5) and ventricular peritoneal shunting (n=1).

At the time of the FDA’s review, symptoms had resolved in three patients, were resolving in one patient, had
not resolved in one patient, and one patient’s status was unknown. GnRH agonist therapy was discontinued
in three patients; the status of continued therapy was unknown for the remaining three patients.

The incidence rate of pseudotumor cerebri associated with GnRH agonist use in pediatric patients could not
be reliably established due to the small number of cases and data limitations.

The FDA’s Office of Pediatric Therapeutics (OPT), Division of Pediatrics and Maternal Health (DPMH) and
Division of General Endocrinology (DGE) contributed to this article. OPT resides in the Office of Clinical
Policy and Programs in the Office of the Commissioner. DPMH resides in the Office of Rare Diseases,
Pediatrics, Urologic and Reproductive Medicine. DGE resides within the Office of Cardiology, Hematology,
Endocrinology and Nephrology. Both DPMH and DGE reside within the Office of New Drugs in the Center
for Drug Evaluation and Research.

Resource

Information for health care professionals on reporting adverse events to the FDA



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